U.S. DISTRICT COURT

FOR THE

USDC EASTERN DISTRICT OF LOUISIANA

TORIA KING, ET AL. Case No. 10-1303
N[S)
Plaintiff(s)

VS.

HOMES OF MERIT, INC., ET AL

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Defendant(s).

SUGGESTION OF BANKRUPTCY

PLEASE TAKE NOTICE that on the 15" day of November, 2009, the United
States Bankruptcy Court for the District of Delaware entered an Order for Relief under Title 11

of Chapter 11 of the United States Code in the matters of In re Champion Enterprises, Inc. and its

affiliated companies, including Homes of Merit, Inc., a defendant in this case (collectively the
“Debtors”) jointly administered at Case No. 09-14019 (KG). A copy of the voluntary petition
for Homes of Merit, Inc. is attached hereto.

PLEASE TAKE FURTHER NOTICE that pursuant to 11 U.S.C. § 362(a), the
Debtors’ filing of voluntary petitions operates as a stay, applicable to all entities, of, among other
things: (a) the commencement or continuation of all judicial, administrative, or other actions or
proceedings against the Debtors (i) that were or could have been commenced before the

commencement of the Debtors’ cases or (ii) to recover any claims against the Debtors that arose

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before the commencement of the Debtors’ cases; (b) the enforcement, against the Debtors or

against any property of the Debtors’ bankruptcy estate, of a judgment obtained before the

commencement of the Debtors’ cases; or (c) any act to obtain possession of property of or from

the Debtors’ bankruptcy estate, or to exercise control over property of the Debtors’ bankruptcy

estate.

Dated: June VW , 2010

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